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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


 MONARCH NETWORKING
 SOLUTIONS LLC,

                   Plaintiff,
                                         Civil Action No. 2:20-CV-00015-JRG
             v.
                                         JURY TRIAL DEMANDED
 CISCO SYSTEMS, INC.

                   Defendant.


     DECLARATION OF MICHAEL R. RHODES IN SUPPORT OF DEFENDANT
          CISCO SYSTEMS, INC.’S MOTION TO TRANSFER VENUE
             TO THE NORTHERN DISTRICT OF CALIFORNIA
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       I, Michael R. Rhodes, declare:

       1.       I am an attorney at the law firm Desmarais LLP, counsel for Defendant Cisco

Systems, Inc. (“Cisco”) in the above captioned matter. I am admitted pro hac vice to this Court.

I submit this declaration based on personal knowledge, and if called upon as a witness, I could

competently testify to the truth of each statement herein.

       2.       I make this declaration in support of Defendant Cisco Systems, Inc.’s Motion To

Transfer Venue To The Northern District Of California, submitted concurrently.

       3.       Attached as Exhibit 1 is a true and accurate copy of the August 20, 2020 declaration

of Soumitra Mukherji.

       4.       Attached as Exhibit 2 is a true and accurate copy of the August 21, 2020 declaration

of Mitch Oliver.

       5.       Attached as Exhibit 3 is a true and accurate copy of the August 27, 2020 declaration

of Jeff Lund.

       6.       Attached as Exhibit 4 is a true and accurate copy of the August 29, 2020 declaration

of Ghulam Awan.

       7.       Attached as Exhibit 5 is a true and accurate copy of the August 31, 2020 declaration

of Shankarnarayan Dharmarajan.

       8.       Attached as Exhibit 6 is a true and accurate copy of U.S. Patent No. 8,130,775, with

annotations added for clarity.

       9.       Attached as Exhibit 7 is a true and accurate copy of Defendant Cisco Systems,

Inc.’s June 8, 2020 Initial And Additional Disclosures, with annotations added for clarity.
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           10.      Attached as Exhibit 8 is a true and accurate copy of Plaintiff Monarch Networking

Solutions, LLC’s June 8, 2020 Initial And Additional Disclosures, with annotations added for

clarity.

           11.      Attached as Exhibit 9 is a true and accurate copy of Plaintiff Monarch Networking

Solutions, LLC’s June 24, 2020 Amended Initial And Additional Disclosures, with annotations

added for clarity.

           12.      Attached as Exhibit 10 is a true and accurate copy of excerpts of Defendant Cisco

Systems, Inc.’s June 29, 2020 Preliminary Invalidity Contentions, with annotations added for

clarity.

           13.      Attached as Exhibit 11 is a true and accurate copy of Godo Kaisha IP Bridge 1 v.

Intel Corp., Case No. 2:17-cv-00676-RWS (E.D. Tex. Sept. 28, 2018), ECF No. 157.

           14.      Attached as Exhibit 12 is a true and accurate copy of excerpts from a presentation

titled “Patent Portfolio Overview,” bearing Bates numbers MON-CISCO-0001915 and MON-

CISCO-00001920, with annotations added for clarity (filed under seal).

           15.      Attached as Exhibit 13 is a true and accurate copy of the Bloomberg company

profile          “Acacia    Research      Group      LLC”,       accessed     and    printed      from

https://www.bloomberg.com/profile/company/3148094Z:US (last accessed September 2, 2020),

with annotations added for clarity.

           16.      Attached as Exhibit 14 is a true and accurate copy of the Corporation Wiki company

profile      “Monarch       Networking      Solutions    LLC”,     accessed    and    printed     from

https://www.corporationwiki.com/p/35hv70/monarch-networking-solutions-llc             (last    accessed

September 2, 2020), with annotations added for clarity.




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          17.   Attached as Exhibit 15 is a true and accurate copy of the Internet Engineering Task

Force      (“IETF”)      “Legal     Request     Procedures),      accessed     and    printed    from

https://www.ietf.org/about/administration/legal-request-procedures/ (last accessed September 2,

2020), with annotations added for clarity.

          18.   Attached as Exhibit 16 is a true and accurate copy of the IETF “About”, accessed

and printed from https://www.ietf.org/about/ (last accessed September 2, 2020), with annotations

added for clarity.

          19.   Attached as Exhibit 17 is a true and accurate copy of the Bloomberg company

profile                                          accessed            and         printed         from

                                                               (last accessed September 2, 2020), with

annotations added for clarity.

          20.   Attached as Exhibit 18 is a true and accurate copy of the              “Legal Process

Guidelines”, accessed and printed from

                     (last accessed September 2, 2020), with annotations added for clarity.

          21.   Attached as Exhibit 19 is a true and accurate copy of the LinkedIn profile of

Arnaud Cauvin, with annotations added for clarity.

          22.   Attached as Exhibit 20 is a true and accurate copy of the LinkedIn profile of Charlie

Raasch, with annotations added for clarity.

          23.   Attached as Exhibit 21 is a true and accurate copy of the LinkedIn profile of Dave

Brush, with annotations added for clarity.

          24.   Attached as Exhibit 22 is a true and accurate copy of the LinkedIn profile of Dave

Ward, with annotations added for clarity.




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       25.     Attached as Exhibit 23 is a true and accurate copy of the LinkedIn profile of Eric

Lucas, with annotations added for clarity.

       26.     Attached as Exhibit 24 is a true and accurate copy of the LinkedIn profile of Erik

Ahroon, with annotations added for clarity.

       27.     Attached as Exhibit 25 is a true and accurate copy of the LinkedIn profile of

Frederic Jounay, with annotations added for clarity.

       28.     Attached as Exhibit 26 is a true and accurate copy of the LinkedIn profile of Jean-

Luc Grumault, with annotations added for clarity.

       29.     Attached as Exhibit 27 is a true and accurate copy of the LinkedIn profile of Keyur

Patel, with annotations added for clarity.

       30.     Attached as Exhibit 28 is a true and accurate copy of the LinkedIn profile of Marc

Booth, with annotations added for clarity.

       31.     Attached as Exhibit 29 is a true and accurate copy of the LinkedIn profile of Mark

Townsley, with annotations added for clarity.

       32.     Attached as Exhibit 30 is a true and accurate copy of the LinkedIn profile of

Michael J. Kim, with annotations added for clarity.

       33.     Attached as Exhibit 31 is a true and accurate copy of the LinkedIn profile of Mitch

Oliver, with annotations added for clarity.

       34.     Attached as Exhibit 32 is a true and accurate copy of the LinkedIn profile of

Mohammed Kassi Lahlou, with annotations added for clarity.

       35.     Attached as Exhibit 33 is a true and accurate copy of the LinkedIn profile of

Nadereh Russell, with annotations added for clarity.




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       36.     Attached as Exhibit 34 is a true and accurate copy of the LinkedIn profile of Ole

Trøan, with annotations added for clarity.

       37.     Attached as Exhibit 35 is a true and accurate copy of the LinkedIn profile of Rahul

Aggarwal, with annotations added for clarity.

       38.     Attached as Exhibit 36 is a true and accurate copy of the LinkedIn profile of Rob

Hamilton, with annotations added for clarity.

       39.     Attached as Exhibit 37 is a true and accurate copy of the LinkedIn profile of

Soumitra Mukherji, with annotations added for clarity.

       40.     Attached as Exhibit 38 is a true and accurate copy of the LinkedIn profile of

Vishnuprakash Selvarajan, with annotations added for clarity.

       41.     Attached as Exhibit 39 is a true and accurate copy of U.S. Patent No. 8,451,844.

       42.     Attached as Exhibit 40 is a true and accurate copy of U.S. Patent No. 8,451,845.

       43.     Attached as Exhibit 41 is a true and accurate copy of U.S. Patent No. 9,019,965.



       I declare under penalty of perjury that the foregoing is true and correct and that this

declaration was executed on the 3rd day of September, 2020 in San Francisco, CA.



                                                     /s/ Michael R. Rhodes




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